 Case 4:15-cv-04136-KES Document 51 Filed 01/28/19 Page 1 of 1 PageID #: 681




                      UNITED STATES DISTRICT COURT

                        DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION


SIOUX STEEL COMPANY, A SOUTH                         4:15-CV-04136-KES
DAKOTA CORPORATION;

                   Plaintiff,
                                                         JUDGMENT
      vs.

KC ENGINEERING, P.C., AN IOWA
CORPORATION;

                   Defendant.


      Under the parties’ joint motion to dismiss (Docket 50), it is

      ORDERED, ADJUDGED, AND DECREED that the above-entitled action

is dismissed with prejudice and the parties shall bear their own costs,

expenses, and attorney fees.

      Dated January 28, 2019.

                                      BY THE COURT:


                                      /s/ Karen E. Schreier
                                      KAREN E. SCHREIER
                                      UNITED STATES DISTRICT JUDGE
